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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

MICHAEL RUBIN, Derivatively
on Behalf of MATCH GROUP,
INC.,

Plaintiff,

Joseph M. Levin., et al,
Defendants, and

MATCH GROUP, INC.,

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§
§
§
v. § C.A. No. 1-20-CV-00299-CFC
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§
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§
§
Nominal Defendant. §

STIPULATION AND fPROPOSED] ORDER FOR
VOLUNTARY DISMISSAL OF ACTION

WHEREAS, pursuant to Rule 23.1(c) of the Federal Rules of Civil
Procedure, Plaintiff and Defendants (collectively, the “Parties”) hereby jointly
agree that the Action should be dismissed with prejudice as to the named
Plaintiff only;

WHEREAS, no compensation in any form has passed directly or
indirectly from any of the Defendants to the Plaintiff or any counsel for Plaintiff
and no promise to give any such compensation has been made;

NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED,
by the Parties, through their undersigned counsel, subject to the approval of the

Court, as follows:
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1. Pursuant to Rule 23.1(c) of the Federal Rules of Civil Procedure, this
case is dismissed in its entirety. The dismissal is with prejudice to the named

Plaintiff only. All parties shall bear their own costs.

SO STIPULATED and AGREED this 3rd day of February 2023.
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Dated: February 3, 2023

Isl Kenneth J, Nachbar

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IT IS SO ORDERED this 6™ day of F, bray 2023
(A ¢ Fy

The Honorable Colm F. Connolly
United States District Court Judge
